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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                               FILED
                                                              for the
                                                                                                                               DEC 07 2018
                                                  Eastern District of Missouri
                                                                                                                            U. S. DISTRICT COURT
                                                                                                                          EASTERN DISTRICT OF MO
                  United States of America                       )                                                            CAPE GIRARDEAU
                             V.                                  )
                                                                         Case No.
                                                                                    1:18MJ4293 ACL

                  JOSEPH MICHAEL PRICE

                       • Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                December 5, 2018              in the county of                 Butler                          in the
        Eastern        District of          Missouri         , the defendant(s) violated:

            Code Section                                                   Offense Description
Title 18, United States Code,                 Possession of a firearm by a person who has been adjudicated as a mental
Section 922(g)(4)                             defective.




          This criminal complaint is based on these facts:
          See attached Affidavit, which is incorporated herein by reference.




          Le Continued on the attached sheet.




                                                                                            Beth Dallas, SA, ATF
                                                                                             Printed name and title
                                                                                                                           t

Sworn to before me and signed in my presence.                                                             M.                      •

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                                                                                                          ,fct`e


Date:             12/07/2018                                                     agitt'>    C1411)
                                                                                              ..
                                                                                               Judg7e7S signature

City and state:                      Cape Girardeau, MO                        Abbie Crites-Leoni, U.S. Magistratelge...,
                                                                                             Printed name and title
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STATE OF MISSOURI

                                      )

COUNTY OF CAPE GIRARDEAU )



                                          AFFIDAVIT


   I, Beth A. Dallas, being first duly sworn, depose and say that:



   1. I am a duly commissioned Special Agent for the Bureau of Alcohol, Tobacco and
Firearms (ATF), United States Department of Justice, and have been so employed since 2003. I
have a Bachelor of Art degree in Sociology with a concentration in Criminology from the
University of Tennessee and I am a graduate of the Federal Law Enforcement Training Center
Criminal Investigator Training Program and ATF New Professional Training. I have conducted
numerous investigations involving violations of the Gun Control Act of 1968 and related
criminal laws. My duties include the investigation of federal criminal violations by individuals
prohibited from possessing firearms.



   2. That on November 5, 2013, a Judgment of Incapacity was issued by the Ripley County
Circuit Court in Case Number 13RI-PRO0092 that found that Joseph Michael Price was "totally
incapacitated by reason of respondent's mental condition and is unable to care for self." Diane
Moore and Debbie Price were named as guardians of Joseph Michael Price in the same order.
The Judgment found that Joseph Michael Price was "totally incapacitated as defined by Section
475.010 RSMo, without exception, as provided by Section 475.078.2 RSMo."


       An '"incapacitated person" is defined by RSMo, Section 475.010 (11) as "one who is
unable by reason of any physical, mental, or cognitive condition to receive and evaluate
information or to communicate decisions to such an extent that the person, even with appropriate
services and assistive technology, lacks capacity to manage the person's essential requirements
for food, clothing, shelter, safety or other care such that serious physical injury, illness, or
disease is likely to occur. The term "incapacitated person" as used in this chapter includes the
term partially incapacitated person unless otherwise specified or apparent from the context".


   3. Persons who have been adjudicated as a "mental defective" are prohibited from
possessing firearms and/or ammunition pursuant to Title 18, United States Code, Section
922(g)(4). The statute does not define the meaning of "mental defective, but that definition is
provided by the Code of Federal Regulations:
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searched Benjamin Tyler Price and discovered that he had numerous pistol magazines on his
person, all of which were loaded with pistol ammunition. Officers found a black ski mask in one
of his pockets. While the officers were taking those magazines from his person, Benjamin Tyler
Price told the officers that he also had a shotgun, pistol and other ammunition inside the vehicle.
Benjamin Tyler Price told the officers that the "Military was after them" and that there was a hit
out on his life and that he armed himself for his protection. Benjamin Tyler Price said that
Joseph Michael Price was inside the Minit-Mart store. Officers searched the vehicle and found a
Maverick, 12 gauge shotgun, bearing serial number MV899231 inside the truck. They also
found a Hi-Point, .40 caliber pistol, bearing serial number X772657 inside the truck.



    6. Officers went inside the Minit-Mart store to look for Joseph Michael Price.. Employees
of that store informed the officers that Joseph Michael Price had just entered the restroom.
Officers went to the door of the restroom and heard someone tampering with the toilet. Officers
entered the restroom and discovered Joseph Michael Price inside. They also found a pistol inside
the water tank of the toilet. Joseph Michael Price was detained and handcuffed. The pistol in the
tank was a Hi-Point, 9mm caliber pistol, bearing serial number P1858464.



        Officers searched the truck with the consent of Benjamin Tyler Price and Joseph Michael
Price and found around 1,000 rounds of Remington brand, .40 and 9mm caliber pistol
ammunition in the GMC truck and on the persons of Benjamin Tyler Price and Joseph Michael
Price, along with 110 rounds of Selleir and Bellot shotgun ammunition, along with mace, knives,
masks and a flashlight, and other items. The shotgun ammunition was "00" buckshot; which is a
particularly lethal round, in that each round of ammunition contains 12 pellets of .22 caliber size
projectiles. These rounds are designed to disperse when fired, creating a pattern of projectiles.



  7. All three firearms seized were manufactured in states other than Missouri. The
ammunition found was all manufactured in states other than Missouri.


   8. Both Benjamin Tyler Price and Joseph Michael Price were taken to a psychiatric hospital,
where they were examined. Both men told the doc rs that they were planning to kill multiple
individuals with the firearms and ammunition,-


                                             Beth A. Dallas, SA, ATF

       Sworn to and subscribed before me this 7th day of Deceinger; /0L8.


                                             Abbie Crites-Leoni
                                             United States Magistrate Jude
                                             Eastern District of Missouri
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               Adjudicated as a mental defective. (a) A determination by a court, board,
               commission, or other lawful authority that a person, as a result of marked
               subnormal intelligence, or mental illness, incompetency, condition, or disease:
               (1) Is a danger to himself or to others; or

               (2) Lacks the mental capacity to contract or manage his own affairs.


27 C.F.R. § 478.11.



       The Judgment issued by the Ripley County Circuit Court found that Price was totally
incapacitated by reason of respondent's mental condition and is unable to care for self, thereby
rendering Price a "mental defective" according to 27 C.F.R. § 478.11.



        On December 3, 2018, an Application for 96 Hour Detention, Evaluation and
Treatment/Rehabilitation Order was filed with the Butler County Circuit Court alleging that
Joseph Michael Price was "increase psychosis, increase delusions, disorganized, guarded —
responding to internal stimuli — ADL's (Activities of Daily Living) are significantly decreased
due to acute psychosis — distorted reality". The Application also noted that Joseph Michael Price
needed involuntary hospitalization. The Application was signed by Naveed J. Mirza, M.D.,
Psychiatrist, Kneibert Clinic. The Application was approved by the Butler County Circuit Court,
approving a 96 hour detention for evaluation and treatment.




    4. On December 5, 2018, at around 7:09 a.m., Debra Price contacted the Butler County
Sheriff's Office to report that her two sons, Benjamin Tyler Price and Joseph Michael Price,
were missing from her care. Here sons went missing just after the Application referenced above
was filed on December 3, 2018. Debra Price stated-that she was the guardian for both of her
sons due to a Judgment from the Ripley County Circuit Clerk. Debra Price reported that she had
received information that both of her sons were currently located at a Minit-Mart convenience
store in Poplar Bluff, Missouri. Debra Price was concerned with the welfare of her two sons and
requested that the officers locate them to determine their well being. She told the officers that
she had a current Order from the Ripley County Circuit Court for both of her sons to be taken
into custody for purposes of a mental health evaluation at a secure facility.


  5. Officers drove to the Minit-Mart and found a GMC truck in the store's parking lot that
was owned by Samuel Price. Samuel Price is the father of both Benjamin Tyler Price and Joseph
Michael Price. The officers approached the vehicle and discovered that Benjamin Tyler Price
was standing next to the vehicle. He was taken from the vehicle and handcuffed. The officers
